 Case 2:20-cv-11302-LVP-DRG ECF No. 23, PageID.83 Filed 04/13/21 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

ANGELA CLARK,                                       :      Case No. 2:20-cv-11302-LVP-DRG
                                                    :
              Plaintiff,                            :
                                                    :      Judge Linda V. Parker
v.                                                  :
                                                    :
GENERAL ELECTRIC CORPORATION                        :
and INSIGHT GLOBAL,                                 :
                                                    :
              Defendant.                            :

                 SUPPLEMENTAL NOTICE OF SETTLEMENT STATUS

       Defendant General Electric Company hereby provides the Court with an explanation

regarding compliance with the parties’ settlement agreement. As Defendant’s counsel explained

to Plaintiff’s counsel, the email containing banking information required for GE to make the

electronic settlement payment was stuck in the spam filter for Defendant’s counsel. Defendant’s

counsel discovered this on March 30, 2021. Once the banking information was discovered, it

was immediately shared with GE. GE has expedited the payment process, which generally takes

30 days. According to GE, the settlement payment will be electronically deposited within the

next few business days.

                                                    Respectfully submitted,


                                                    /s/ Kasey L. Bond
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 Case 2:20-cv-11302-LVP-DRG ECF No. 23, PageID.84 Filed 04/13/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that on April 13, 2021, the foregoing Supplemental Notice of Settlement
Status is being filed with the Clerk, using the electronic case filing system of the Court, which
electronically will send a “Notice of Electronic Filing” to the following attorney of record, whom
has consented to accept such a Notice as service of this document by electronic means.

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                                                    /s/ Kasey L. Bond
                                                    Kasey L. Bond
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